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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
       v.                                   :       Criminal No. 21-cr-24 (EGS)
                                            :
ROBERT GIESWEIN,                            :
                                            :
                      Defendant.            :


   MOTION TO CONTINUE THE DEADLINE TO REPORT THE UNITED STATES
      MARSHALS SERVICE REPORT ON CONDITIONS AT THE D.C. JAIL
       The United States of America, by and through the United States Attorney for the District

of Columbia, hereby moves for a continuance of one week to file its brief on behalf of the United

States Marshals Service (“USMS”). Specifically, pursuant to the Court’s Minute Orders on

December 23 and 29, 2021, the Court has ordered the government to file a brief on behalf of the

USMS that addresses, inter alia, “(1) the response by the [USMS] to address the deficiencies

identified in USMS’s letter of November 1, 2021, since the implementation of the Memorandum

of Understanding between the District of Columbia Department of Corrections (DOC) and USMS

was entered on or about November 10, 2021, with particular focus on corrective action the USMS

has requested that the DOC take at the Central Treatment Facility (CTF), and whether DOC has

taken such corrective action.”

       Defendant Gieswein is currently held at CTF. The USMS report on November 1, 2021,

identified a number of concerns about conditions at the Central Detention Facility (CDF), and

further stated that conditions at the CTF were observed to be largely appropriate and consistent

with federal prisoner detention standards. The government understands that the USMS has
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continued to monitor the conditions at both CDF and CTF through on-site observations. 1 The

USMS will provide a report to the District of Columbia District Court Judges later this week.

Because the information in that report is being verified, the government respectfully requests an

additional week to respond on behalf of the USMS with respect to the conditions at the CTF.

       Government counsel reached out to Ann Mason Rigby and Elizabeth Mullin, Esqs. this

afternoon, to ask their position on the government’s request. As of filing, undersigned counsel

have not been able to ascertain the defense’s position.



                                                   Respectfully submitted,

                                                   MATTHEW M. GRAVES
                                                   United States Attorney
                                                   DC Bar No. 481052


                                            By:    /s/ John D. Crabb, Jr.
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                                                   Chief, Criminal Division
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                                            By:    /s/ Jason McCullough
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1
        USMS reports that it has observed additional deficiencies through its monitoring, including
several deficiencies at CTF.
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                              CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that I caused a copy of this pleading to be served upon defense
counsel via the Electronic Case Filing (ECF) system, on January 10, 2022.



                                         By:    /s/ Jason McCullough
                                                JASON B.A. MCCULLOUGH
                                                D.C. Bar No. 998006
